462 F.2d 185
    MID-GULF STEVEDORES, INC., Employer, and Argonaut InsuranceCompany Insurance Carrier, Plaintiffs-Appellees,v.Raymond E. NEUMAN, Deputy Commissioner, Bureau of Employees'Compensation, etc., Defendant-Appellant,Frank McCray, Intervenor-Appellant.
    No. 72-1015 Summary Calendar.*
    United States Court of Appeals,
    Fifth Circuit.
    June 12, 1972.
    
      Max Zelden, Zelden &amp; Zelden, New Orleans, La., for McCray.
      Gerald L. Gallinghouse, U. S. Atty., New Orleans, La., for Neuman.
      Leavenworth Colby, Sp. Asst. U. S. Atty. Gen., Morton Hollander, Eloise E. Davies, Dept. of Justice, Washington, D. C., L. Patrick Gray, III, Asst. Atty. Gen., Adams &amp; Reese, Lawrence L. McNamara, New Orleans, La., for plaintiffs-appellees.
      Before WISDOM, GODBOLD, and RONEY, Circuit Judges.
      PER CURIAM:
    
    
      1
      We have carefully reviewed the record, including the record before the Deputy Commissioner, the order of the Deputy Commissioner, the record in the district court, the carefully considered opinion of the district court, 333 F. Supp. 430, and the briefs of the parties filed in this Court.  We conclude that the findings of the Deputy Commissioner that the claimant's cerebral vascular accident arose out of the claimant's employment are supported "by substantial evidence on the record considered as a whole".  O'Leary v. Brown-Pacific-Max-on, 1951, 340 U.S. 504, 508, 71 S.Ct. 470, 95 L.Ed. 483, 487.  See also O'Keeffe v. Smith, Hinchman &amp; Gryllis Associates, 1965, 380 U.S. 359, 85 S.Ct. 1012, 13 L. Ed.2d 895; Universal Camera Corp. v. NLRB, 1951, 340 U.S. 474, 71 S.Ct. 456, 95 L.Ed. 456; Cardillo v. Liberty Mutual Insurance Co., 1947, 330 U.S. 469, 67 S.Ct. 801, 91 L.Ed. 1028; Watson v. Gulf Stevedore Corp., 5 Cir. 1968, 400 F.2d 649; Higgins, Inc. v. Donovan, 5 Cir. 1967, 373 F.2d 18; Todd Shipyards Corp. v. Donovan, 5 Cir. 1962, 300 F.2d 741; Southern Stevedoring Co. v. Henderson, 5 Cir. 1949, 175 F.2d 863.
    
    
      2
      The judgment is reversed.
    
    
      
        *
         Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Company of New York et al., 5 Cir. 1970, 431 F.2d 409, Part I
      
    
    